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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
KYSS BURTON, BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND AND
SAKIA HALL,
Plaintiff,
Vv. Case No. 3:11-cv-00065-JRS
HAROLD FORD,
Defendant.
ORDER
On motion of Defendant, Harold Ford (“Ford"), and the absence of any objection thereto,

it is hereby ORDERED that Ford’s Motion to Withdraw his Motion to Compel is GRANTED.

The Clerk is DIRECTED to send a copy of this Order to counsel of record for all parties.

It is so ORDERED.

ENTER: / /

BY;

Judge
